Case 1:17-cv-08373-RBK-AMD Document 11 Filed 02/02/18 Page 1 of 4 PageID: 224




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE

                                                    :
 Eli POPE, individually and on behalf of all        :
 others similarly situated,                         :
                                                    :         Civil No. 17-8373 (RBK/AMD)
                     Plaintiff,                     :
          v.                                        :         ORDER
                                                    :
 NAVIENT CORPORATION, et al.                        :
                                                    :
                    Defendant.                      :
                                                    :
                                                    :
                                                    :
 Melvin GROSS, individually and on behalf of        :
 all others similarly situated,                     :
                                                    :         Civil No. 17-11014 (RBK/AMD)
                     Plaintiff,                     :
          v.                                        :
                                                    :
 NAVIENT CORPORATION, et al.                        :
                                                    :
                    Defendant.                      :
                                                    :
                                                    :

KUGLER, United States District Judge:

       THIS MATTER coming before the Court on Yuri Marakhovsky’s Motion for

Consolidation, Appointment as Lead Plaintiff, and Approval of Counsel (17-8373, Doc. No. 5);

Navient Investor Group’s (the “Group”) Motion for Consolidation, Appointment as Lead Plaintiff,

and Approval of Counsel (17-8373, Doc. No. 6); and Yuri Marakhovsky’s Motion for

Consolidation, Appointment as Lead Plaintiff, and Approval of Counsel. (17-11014, Doc. No. 2),

and for the reasons stated in the Opinion issued this date,




                                                        1
Case 1:17-cv-08373-RBK-AMD Document 11 Filed 02/02/18 Page 2 of 4 PageID: 225




       IT IS HEREBY ORDERED that Marakhovsky and Navient Investor Group’s Motions to

Consolidate are GRANTED (17-8373, Doc. Nos. 5, 6); Marakhovsky’s Motions for Appointment

as Lead Plaintiff are DENIED (17-8373, Doc. No. 5; 17-11014, Doc. No. 2); and Navient Investor

Group’s Motion for Appointment as Lead Plaintiff and Lead Counsel (17-8373, Doc. No. 6) is

GRANTED; and

       IT IS HEREBY ORDERED that the above-captioned securities fraud class actions

pending in this Judicial District are hereby consolidated for all purposes pursuant to Rule 42(a) of

the Federal Rules of Civil Procedure.

   1. Any actions that have been filed, or may be filed, which are related and which may be

       considered herewith, are consolidated with the Pope Action under Case No. 17:17-cv-

       08373-RBK-AMD (the “Consolidated Action”).

   2. A Master File shall be established for the consolidated proceedings in the Consolidated

       Action. The docket number for the Master File shall be Master File No. 1:17-cv-08373-

       RBK-AMD. The original of this Order shall be filed by the Clerk in the Master File. The

       Clerk shall mail a copy of this Order to counsel of record in each of the above-captioned

       actions.

   3. Every pleading filed in the Consolidated Action shall bear the following caption:

                                                    :
 In re NAVIENT CORPORATION                          :
 SECURITIES LITIGATION                              :        Master File No. 17-8373 (RBK/AMD)
                                                    :
                                                    :
                                                    :

       IT IS FURTHER ORDERED that Navient Investor Group is appointed Lead Plaintiff

and its selected counsel, Levi & Korsinsky, LLP is appointed as Lead Counsel.



                                                        2
Case 1:17-cv-08373-RBK-AMD Document 11 Filed 02/02/18 Page 3 of 4 PageID: 226




   1. Lead Counsel shall have the following responsibilities and duties, to be carried out either

      personally or through counsel whom Lead Counsel shall designate:

          a. To coordinate the briefing and argument of any and all motions

          b. To coordinate the conduct of any and all discovery proceedings;

          c. To coordinate the examination of any and all witnesses in the depositions;

          d. To coordinate the selection of counsel to act as spokesperson at all pretrial

              conferences;

          e. To call meetings of the plaintiffs’ counsel as they deem necessary and appropriate

              from time to time;

          f. To coordinate all settlement negotiations with counsel for defendants;

          g. To coordinate and direct the pretrial discovery proceedings and the preparation for

              trial and the trial of this matter, and to delegate work responsibilities to selected

              counsel as may be required;

          h. To coordinate the preparation and filings of all pleadings; and

          i. To supervise all other matters concerning the prosecution or resolution of the

              Action.

   2. No motion, discovery request, or other pretrial proceedings shall be initiated or filed by

      any plaintiffs without the approval of Lead Counsel, so as to prevent duplicative pleadings

      or discovery by plaintiffs. No settlement negotiations shall be conducted without the

      approval of the Lead Counsel.

   3. Service upon any plaintiff of all pleadings in the Consolidated Action, except those

      specifically addressed to a plaintiff other than Lead Plaintiff, shall be completed upon

      service of Lead Counsel.

                                                    3
Case 1:17-cv-08373-RBK-AMD Document 11 Filed 02/02/18 Page 4 of 4 PageID: 227




    4. Lead Counsel shall be the contact between plaintiffs’ counsel and defendants’ counsel, as

        well as the spokespersons for all plaintiffs’ counsel, and shall direct and coordinate the

        activities of plaintiffs’ counsel. Lead Counsel shall be the contact between the Court and

        plaintiffs and their counsel.

        IT IS FURTHER ORDERED that for newly-filed or transferred actions arising out of the

subject matter of this action, the Clerk of Court shall file a copy of this Order in the separate file

for such action, mail a copy of this Order to the attorneys for the plaintiff(s) in the newly filed or

transferred case and to any new defendants(s) in the newly filed or transferred case, and make the

appropriate entry on the docket for this action.

        IT IS FURTHER ORDERED that each new case arising out of the subject matter of this

action or that is transferred to this Court shall be consolidated with the Consolidated Action and

this Order shall apply thereto, unless a party objecting to this Order, within 10 days after the date

upon which this Order was served, files an application for relief from this Order and the Court

deems it appropriate to grant such application.

        IT IS FURTHER ORDERED that during the pendency of this litigation, or until further

order of this Court, the parties shall take reasonable steps to preserve all documents within their

possession, custody, or control, including computer-generated and stored information and

materials such as computerized data and electronic mail, containing information that is relevant to

or which may lead to the discovery of information relevant to the subject matter of the pending

litigation.



Dated: February 2, 2018                                       /s Robert B. Kugler
                                                              ROBERT B. KUGLER
                                                              United States District Judge

                                                      4
